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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
CASE NO.:

MARIA THERESA GUANIRO ZAMORA;

ALEX TANTALEAN; CECILIA DELGADO;

and SONIA CARRANZA,

Plaintiffs,
VS.

ACE AMERICAN INSURANCE COMPANY,

Defendant.
/

 

COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES

The Plaintiffs, Maria Theresa Guaniro Zamora, ("Zamora"); Alex Tantalean,
("Tantalean"); Cecelia Delgado, ("Delgado"); and Sonia Carranza, ("Carranza"),
(hereinafter referred to individually by name or collectively as the "Plaintiffs"), sue the

Defendant Ace American Insurance Company, ("Ace"), as follows:

NATURE OF ACTION

1, This is an action for declaratory relief under 28 U.S.C. §2201, to
establish the amount of underinsured/uninsured motorist coverage under an excess
liability insurance policy issued by Ace, as well as individual claims by the named

Plaintiffs for damages under said policy.
 

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JURISDICTION AND VENUE
2. Jurisdiction is proper because there is diversity of citizenship and the
amount in controversy exceeds $75,000 exclusive of attorney’s fees, interest and costs.
28 U.S.C. §1332.
3. Venue is proper in this district because the events giving rise to the claims
occurred here. 28 U.S.C. §1391. More specifically, this is the district where the

underlying accident occurred.

THE PARTIES
4, The Plaintiffs Zamora, Tantalean, Delgado and Carranza are citizens of
Peru.
5, The Defendant Ace is a citizen of the State of Pennsylvania, both

incorporated in Pennsylvania and with its principal place of business in Pennsylvania.
COMMON ALLEGATIONS

6. On or about October 16, 2015, the Plaintiff Zamora rented a vehicle from
Alamo. As part of the transaction, Zamora purchased “extended protection” in the form
of a $1,000,000 excess policy underwritten by Ace. A copy of the rental receipt is
attached hereto as Exhibit A.

7. On or about October 23, 2015, Zamora, while operating the Alamo
vehicle, was involved in an accident with an uninsured/underinsured vehicle being
operated by Maria Regina Siqueira at or near the intersection of State Road 854 (Ives

Dairy Road) and Highland Lakes Blvd. (N.E. 20th Ave.) in Miami - Dade County. At the

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time of the accident, the Plaintiffs, Tantalean, Delgado and Carranza were passengers
in the Alamo vehicle.

8. As a result of the accident, and the negligence of the
uninsured/underinsured motorist, Siqueira, the Plaintiffs sustained serious bodily
injuries.

9. Following said accident, the Plaintiffs made a demand for payment of the
uninsured/underinsured motorist ("UM/UIM") limits under the Ace policy. In response,
Ace indicated that notwithstanding that the liability limits of the “extended protection,”
or Ace excess policy, purchased by Zamora, were $1,000,000, there was only
$100,000 in UM/UIM benefits available.

COUNTI
CLAIM FOR DECLARATORY RELIEF REGARDING LIMITS OF
UNINSURED/UNDERINSURED MOTORIST COVERAGE

10. The Plaintiffs reallege and reaver the allegations contained in paragraphs
1 through 9 above as if fully set forth herein.

11. Florida Statute 627.727(2) provides that:

{a]jn insurer issuing an [excess motor vehicle policy] shall
make available as part of the application for such policy,
and at the written request of an insured, limits [of UM
coverage] up to the bodily injury liability limits contained in
such policy or $1 million, whichever is less.
12. It is the Piaintiffs' position that in issuing the subject Ace “extended

protection” or excess liability insurance policy, Ace has failed to comply with the

aforementioned provisions of the Florida Uninsured Motorist Statute. Specifically, in

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selling said policy to the Plaintiff Zamora, Ace has failed to "make available as part of
the application for such policy at the written request of an insured [Zamoral, limits [of
UM/UIM coverage] up to the bodily injury limits contained in such policy or
$1,000,000 whichever is less." Accordingly, based on Ace’s failure to comply with
§627.727(2) Fla. Stat., the Ace policy should be reformed to provide $1,000,000 in
UM/UIM coverage.

13. In contrast, it is the Defendant Ace's position that there is only $100,000
in UM/UIM benefits available to the Plaintiffs.

14. A dispute having arisen between the Parties as to the terms of the Ace
policy, the Plaintiffs request entry of a declaratory decree that there is $1,000 000 in
UM/UIM benefits available to Plaintiffs under the Ace extended protection or excess
policy.

COUNT IT
INDIVIDUAL CLAIM OF ZAMORA AGAINST ACE

15. The Plaintiff Zamora realleges and reavers the allegations contained in
paragraphs 1 through 9 above as if fully set forth herein.

16. As a direct result of the negligence of the uninsured/underinsured
motorist, Siqueira, for which Ace provides UM/UIM coverage, the Plaintiff Zamora has
sustained injuries and damages as follows: past and future pain and suffering; disability;
disfigurement; mental anguish; loss of capacity for the enjoyment of life; expenses of

hospitalization; medical and nursing treatment; loss of earnings; loss of ability to earn
 

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money; and aggravation of preexisting conditions. The aforementioned losses are either
permanent or continuing and Zamora will suffer losses in the future.

WHEREFORE, the Plaintiff Zamora demands judgment against the Defendant
Ace for compensatory damages; attorney’s fees pursuant to §627.428 Fla. Stat.; costs
and any other relief deemed proper.

COUNT IT
INDIVIDUAL CLAIM OF TANTALEAN AGAINST ACE

17. The Plaintiff Tantalean realleges and reavers the allegations contained in
Paragraphs 7 through 9 above as if fully set forth herein.

18. As a direct result of the negligence of the uninsured/underinsured
motorist, Siqueira, for which Ace provides UM/UIM coverage, Tantalean has sustained
injuries and damages as follows: past and future pain and suffering; disability;
disfigurement; mental anguish; loss of capacity for the enjoyment of life; expenses of
hospitalization; medical and nursing treatment; loss of earnings; loss of ability to earn
money; and aggravation of preexisting conditions. The losses are either permanent or
continuing and Tantalean will suffer losses in the future.

WHEREFORE the Plaintiff Tantalean demands judgment against the Defendant
Ace for compensatory damages; attorney’s fees pursuant to §627.428 Fla. Stat.: costs

and any other relief deemed just and proper.
 

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COUNT IV
INDIVIDUAL CLAIM OF DELGADO AGAINST ACE

19. The Plaintiff Delgado realleges and reavers the allegations contained in
paragraphs 1 through 9 above as if fully set forth herein.

20. Asa result of the negligence of the uninsured/underinsured motorist,
Siqueira, for which Ace provides UM/UIM coverage, the Plaintiff Delgado has
sustained injuries and damages as follows: past and future pain and suffering; disability;
disfigurement; mental anguish; loss of capacity for enjoyment of life; expenses of
hospitalization; medical and nursing treatment; loss of earnings; loss of ability to earn
money; and aggravation of preexisting conditions. The aforementioned losses are either
permanent or continuing and Delgado will suffer losses in the future.

WHEREFORE, the Plaintiff Delgado demands judgment against the Defendant
Ace for compensatory damages, attorney’s fees pursuant §627.428 Fla. Stat., costs and
any other relief deemed just and proper.

COUNT V
INDIVIDUAL CLAIM OF CARRANZA AGAINST ACE

21. The Plaintiff Carranza realleges and reavers the allegations contained in
paragraphs 1 through 9 above as if fully set forth herein.

22. Asa direct result of the negligence of the uninsured/underinsured
motorist, Siqueira, for which Ace provides UM/UIM coverage, Carranza has sustained

injuries and damages as follows; past and future pain and suffering; disability; mental
 

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anguish; loss of capacity for enjoyment of life; expenses of hospitalization; medical and
nursing treatment; loss of earnings; loss of ability to earn money and aggravation of
preexisting condition. The losses are either permanent or continuing and Carranza will
suffer losses in the future.

WHEREFORE, the Piaintiff Carranza demands judgment against the Defendant
Ace for compensatory damages, attorney’s fees pursuant to §627.428 Fla. Stat., costs

and any other relief deemed just and proper.

DEMAND FOR JURY TRIAL
The Plaintiffs demand trial by jury of all issues so triable.

Christopher J. Lynch, Esq.
Hunter & Lynch

6915 Red Road

Suite 208

Coral Gables, Florida 33143
Telephone (305) 443-6200

By:/s/ Christopher |. Lynch
CHRISTOPHER J. LYNCH
FBN; 331041

Ed Middlebrooks, Esq.

Law Offices of Middlebrooks & Middlebrooks, P.A.
Blackstone Building, Sixth Floor

707 SE 3 Avenue

Ft. Lauderdale, FL 33316

By:/s/ Ed Middlebrooks
ED MIDDLEBROOKS
FBN: 054734
